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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                      February 28, 2018
                           UNITED STATES DISTRICT COURT
                                                                                      David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

ORLANDO CRUZ JR., et al,          §
                                  §
     Plaintiffs,                  §
VS.                               § CIVIL ACTION NO. 7:18-CV-00001
                                  §
JPMORGAN CHASE BANK, N.A., et al, §
                                  §
     Defendants.                  §

                                            ORDER

         The Court now considers Orlando and Yvonne Cruz’s (“Plaintiffs”) motion for leave to
amend to abandon all federal claims and to remand,1 as well as JP Morgan Chase’s
(“Defendant”) response.2 Plaintiffs’ request is DENIED AS MOOT because all of Plaintiffs’
claims—including their federal claims—were recently dismissed with prejudice.3 Claims that no
longer exist cannot be abandoned. Even so, this Court’s jurisdiction is based upon diversity,4 not
federal question.
         Similarly, the coordinate request for remand is DENIED AS MOOT because there is
nothing to remand: all of Plaintiffs’ claims have been dismissed with prejudice. Plaintiffs also
file a motion for extension of time to file the aforementioned motion for leave to amend to
abandon all federal claims and remand.5 This requested relief is DENIED AS MOOT because
the aforementioned motion is moot.
         Moreover, Plaintiffs request an extension of time to respond to Defendant’s dismissal
motion.6 Indeed, Plaintiffs failed to timely respond to the motion. Nevertheless, this request is
DENIED AS MOOT because the Court has already rule on Defendant’s motion. Even so,
Plaintiffs have asked for an extension after the deadline in question. Federal Rule 6(b) provides
that an extension should only be granted in these circumstances if the movant explains why his


1
  Dkt. No. 11.
2
  Dkt. No. 16.
3
  Dkt. No. 10.
4
  See Dkt. No. 1, p. 2.
5
  Dkt. No. 12 p. 1.
6
  Id. pp. 2–3.

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neglect was excusable. Here, Plaintiffs’ counsel supplies his neglect (i.e., failure to calendar the
event),7 but fails to explain why this neglect was excusable. Plaintiffs’ counsel also suggests an
extension is justified because he may be replaced as attorney in charge.8 However, Plaintiffs’
counsel has not requested substitution, the Court has not granted it, and the prospect of leaving a
case is no excuse for being lazy or otherwise careless.
         Finally, Plaintiffs “advise” the Court that the parties are in serious settlement
negotiations.9 This advisory is both unbelievable (Defendants have won; why would they settle?)
and directly negated by Defendants’ response, which indicates the parties are not discussing
settlement.10 For all these reasons, Plaintiffs’ requested relief is DENIED.
         IT IS SO ORDERED.
         DONE at McAllen, Texas, this 28th day of February, 2018.


                                                  ___________________________________
                                                  Micaela Alvarez
                                                  United States District Judge




7
  Id. p. 4.
8
  Id. p. 2.
9
  See Dkt. No. 14.
10
   See Dkt. No. 15.

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